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                       EXHIBIT A
            Case: 1:18-cv-00864 Document #: 631-1 Filed: 04/17/19 Page 2 of 2 PageID #:24158


Stein, Micah D.

From:                                       Nemelka, Michael N. <mnemelka@kellogghansen.com>
Sent:                                       Thursday, March 07, 2019 12:58 AM
To:                                         SERVICE-EXTERNAL-DMS-MDL
Subject:                                    In re DMS -- MDL Plaintiffs Witness Correspondence
Attachments:                                CDK 30b6 Deposition Notice.pdf; Reynolds 30b6 Deposition Notice.pdf; CVR 30b6
                                            Deposition Notice.pdf


**EXTERNAL SENDER**

Dear Counsel,

Per our agreement regarding disclosing third parties, MDL Plaintiffs intend to depose the third parties identified
below. To the extent not provided below, we are working on proposed dates and will forward them for consideration as
soon as possible.

     1.  AutoAlert, LLC
     2.  Dealer-FX Inc.
     3.  TimeHighway.com Inc.
     4.  IFM Americas Inc.
     5.  DealerSocket, Inc.
     6.  Group1 Automotive, Inc.
     7.  Sunroad Auto LLC
     8.  Allan Stejskal
             a. March 28 in Fontana, Wisconsin
     9. Priority 1 Automotive Group
     10. Boch Automotive
     11. StoneEagle.com, Inc.

Please also find attached the Rule 30(b)(6) deposition notices for CDK, Reynolds, and CVR.

Thanks,
Mike



Michael N. Nemelka
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M. St. N.W., Suite 400
Washington, DC 20036
Direct: (202) 326-7932
mnemelka@kellogghansen.com
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communication in error, please notify the sender immediately via reply e-mail, and then destroy all instances of this communication. Thank you.




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